1          Edward J. Maney
           Chapter 13 Trustee
2          101 N. First Ave., Suite 1775
           Phoenix, Arizona 85003
3          Telephone (602) 277-3776
           ejm@maney13trustee.com
4
                                   IN THE UNITED STATES BANKRUPTCY COURT
5                                          FOR THE DISTRICT OF ARIZONA

6          In re:                                          )       CHAPTER 13 PROCEEDINGS
                                                           )
7                                                          )       CASE NO. # 2: 20-02728-DPC
                    LINDA BETH APOSTOLAKOS,                )
8                                                          )       TRUSTEE'S EVALUATION AND
                                                           )       RECOMMENDATION(S) REPORT WITH
9                                                          )       NOTICE OF POTENTIAL DISMISSAL IF
                                                           )       CONDITIONS ARE NOT SATISFIED
10                                                         )       RE: CHAPTER 13 PLAN
                                           (Debtor(s)      )       docket #9       filed March 27, 2020
11

12                  Edward J. Maney, Trustee, has analyzed the Debtor’s Chapter 13 Plan and supporting

13         documents and submits the following evaluation and recommendation(s):
14
      General requirements:
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16
           a.       Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
17                  all proofs of claim filed with the Court and resolve any discrepancies between the claims and
                    the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
18                  submit a copy of the Court’s Claims Register with any submission of the Order Confirming.

19     b.           Requests by the Trustee for documents and information are not superseded by the filing of an
                    amended plan or motion for moratorium.
20
       c.           The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21                  Confirming Plan unless an amended or modified plan is filed and noticed out.

22     d.           The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                    copies of their federal and state income tax returns for every year during the duration of the
23                  Chapter 13 Plan. This requirement is to be included in any Order Confirming.
24     e.           The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                    Order shall not constitute an informal proof of claim for any creditor.”
25
      f.            The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26                  remit all payments on or before the stated due date each month. Debtor is advised that when
                    payments are remitted late, additional interest may accrue on secured debts, which may result in
27
                    a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
28                  Case can be discharged. This requirement is effective regardless of Plan payments
                    suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

     Case 2:20-bk-02728-DPC               Doc 18      Filed 06/09/20     Entered 06/09/20 13:59:46          Desc
                                                         Page 1 of 3
1                                                                          Trustee’s Recommendation
                                                                           Case No.# 2: 20-02728-DPC
2                                                                          Page #2

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4      g.    At the time of confirmation, the Trustee will require the Debtors to certify that they are current
             on all required tax filings and any domestic support orders.
5
       h.    At the time of confirmation, the debtor(s) are required to certify, via language in the Order
6            Confirming, that they are current on all payments that have come due on any Domestic Support
             Orders since the filing of their case and that they are current on all required tax return
7            filings [pursuant to 11 U.S.C. §1308].
8       i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
             accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
9
             Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
10           Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
             counsel.
11

12

13    Specific Recommendations:

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15    1.     The Trustee requires the debtors supply a copy of statements that reveals the balance on
             hand - in all of their financial/bank accounts - on the date of the filing of their case.
16
      2.     OneMain Financial (2008 Chrysler Town & Country and 2014 Ford Focus) has filed an
17           objection to the Plan which must be resolved before the Plan can be confirmed.
18    3.     The Debtors received significant tax refunds for 2019, which, if allowed to continue, would
             constitute a diversion of projected disposable income. The Trustee requires the Debtors to
19
             adjust payroll tax deductions to prevent over- or under-withholding, amend Schedule I
20           increasing Plan payments accordingly and provide two consecutive pay stubs to verify this
             has been corrected OR turn over tax refunds for each year during the life of the plan (2020,
21           2021 and 2022) as supplemental plan payments.

22

23                   In summary, the Plan can be confirmed subject to the condition(s) noted above,
             adequate funding, and timely filed Stipulated Order Confirming, and Court approval. The
24           Trustee requires that any Stipulated Order Confirming contain the “wet” signatures from
             the debtors (where applicable), debtors counsel and objecting creditors if there are any.
25            General unsecured creditors (including secured creditors with unsecured deficiency balances)
             will be paid through the Trustee, approximately $3,675 or an estimated 8% of general
26           unsecured claims, subject to timely filed and allowed claims. Chapter 7 reconciliation
             requirement must be met given debtors’ scheduled $613.77 equity in non-exempt property at
27           petition date. You are hereby advised that the Trustee may lodge an Order of Dismissal
             should Debtor fail to resolve item(s) #1 above and submit a Stipulated Order Confirming
28           to the Trustee for review and signature or request a hearing within 30 days from the date
             of the mailing of this Trustee's Recommendation.

     Case 2:20-bk-02728-DPC        Doc 18     Filed 06/09/20      Entered 06/09/20 13:59:46        Desc
                                                 Page 2 of 3
1                                                                            Trustee’s Recommendation
                                                                             Case No.# 2: 20-02728-DPC
2                                                                            Page #3
            Date See Electronic Signature Block
3
                                                                      EDWARD J. MANEY,
4                                                                     CHAPTER 13 TRUSTEE
5

6

7                                                                   Edward J. Digitally       signed
                                                                                     by Edward J.
8
                                                                    Maney, Maney, Esq.
9                                                                                    Date: 2020.06.09
10                                                              By: Esq.             11:23:53 -07'00'
                                                                     _______________________________
                                                                      Edward J. Maney ABN 12256
11                                                                    CHAPTER 13 TRUSTEE
                                                                      101 North First Ave., Suite 1775
12                                                                    Phoenix, Arizona 85003
                                                                      (602) 277-3776
13                                                                    ejm@maney13trustee.com

14          Copies of the forgoing
            mailed on [see electronic signature],
15          to the following:

16

17          Linda Apostolakos
            18130 W. Desert View Lane
18          Goodyear, Arizona 85338
            Debtor
19

20          Thomas A. McAvity, Esq.
            4742 North 24th Street
21          Suite #300
            Phoenix, Arizona 85016
22          Debtor’s counsel

23

24

25
                                          Digitally signed by
26
                    Susan     Susan Havermale
27                  Havermale Date: 2020.06.09
                              13:29:54 -07'00'
28          By:
                     Trustee’s Clerk

     Case 2:20-bk-02728-DPC           Doc 18        Filed 06/09/20   Entered 06/09/20 13:59:46      Desc
                                                       Page 3 of 3
